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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

Paul Zondo,                            )
                                       )
               Plaintiff,              )       ORDER
                                       )
       vs.                             )
                                       )
North Dakota Department of             )       Case No. 1:19-cv-009
Corrections and Rehabilitation,        )
                                       )
               Defendant.              )


       On October 1, 2021, the parties filed a Stipulation to Amend Scheduling/Discovery Plan and

Continue Final Pretrial Conference and Jury Trial. (Doc. No. 35). On October 7, 2021, the court

held a status conference with the parties. (Doc. No. 39). Pursuant to its discussion with the parties,

the court CANCELS the settlement conference set for November 8, 2021, with understanding that

it shall be rescheduled at a later date upon request from the parties. In addition, the court ADOPTS

the parties’ stipulation (Doc. No. 35). The pretrial deadlines shall be amended as follows:

       1.      The parties shall have until January 14, 2022, to complete fact discovery and to file

               discovery motions.

       2.      The parties shall provide the names of expert witnesses and complete reports

               under Rule 26(a)(2) as follows:

               a.      Plaintiff will disclose the names of retained experts and reports by January

                       14, 2022; and

               b.      Defendant will disclose the names of retained experts and reports by

                       February 14, 2022.

                Reports shall be served on other parties, but not filed with the Court.

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        3.      The parties shall have until March 14, 2022, to complete discovery depositions

                of expert witnesses.

        4.      The parties shall have until May 2, 2022, to file other dispositive motions (summary

                judgment as to all or part of the case).

The final pretrial conference set for February 23, 2022, shall be rescheduled for January 10, 2023,

at 9:00 AM by telephone before the Magistrate Judge. To participate, the parties should call (877)

810-9415 and enter access code 8992581. The jury trial set for March 8, 2022, shall be rescheduled

for January 23, 2023, at 9:00 AM before Judge Traynor in Bismarck (courtroom #1). A five (5) day

trial is anticipated.

        IT IS ORDERED.

        Dated this 7th day of October, 2021.

                                               /s/ Clare R. Hochhalter
                                               Clare R. Hochhalter, Magistrate Judge
                                               United States District Court




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